                       UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In the Matter of:                              }
WILLIAM BARRIER ROBERTS                        }           CASE NO. 18-83442-CRJ-11
SSN: XXX-XX-9314                               }
                                               }           CHAPTER 11
                       Debtor(s).              }



        ORDER ON MOTION TO RECONSIDER ORDER DATED MAY 31, 2019

       Before the Court is the Debtor’s Motion to Reconsider Order Dated May 31, 2019,

requesting that the Court entered an order approving the Debtor’s Motion to Withdraw Approval

of Blake Cantrell of Coldwell Bank of the Valley as Realtor for the Debtor, and further approving

the Debtor’s Application to Employ Julie Lockwood of Van Valkenburgh & Wilkinson Prop. as

Realtor Nunc Pro Tunc. For cause shown, it is hereby

       ORDERED, ADJUDGED AND DECREED as follows:

       1. The Motion to Reconsider Order Dated May 31, 2019 is APPROVED as set forth

           herein.

       2. The Motion to Withdraw Approval of Blake Cantrell of Coldwell Bank of the Valley

           as Realtor for the Debtor is APPROVED.

       3. The hearing on the Application to Employ Julie Lockwood of Van Valkenburgh &

           Wilkinson Prop. as Realtor Nunc Pro Tunc will be held on July 1, 2019 at 2:30 p.m.

           before the Honorable Clifton R. Jessup, Jr. at the United States Bankruptcy Court, 3rd

           Floor Courtroom, 400 Well Street, Decatur, AL 35601.


Dated this the 20th day of June, 2019.              /s/ Clifton R. Jessup, Jr.
                                                    Clifton R. Jessup, Jr.
                                                    United States Bankruptcy Judge




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